                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                             Roanoke Division


ROGER S. FULLER, JR.,

            Plaintiff,
v.                                            Civil Action No. 7:17CV564
                                                                 (STAMP)
CARILION CLINIC,

            Defendant.


              ORDER DENYING DEFENDANT’S MOTION TO STRIKE
                 PLAINTIFF’S EXPERT DISCOVERY REPORTS

        On January 18, 2019, the plaintiff, Roger S. Fuller, Jr.

(“Fuller”), filed an expert discovery report. ECF No. 36. In that

report, plaintiff disclosed the following expert witnesses: (1) Mr.

Philip S. Hayden (“Mr. Hayden”) (expert in police procedures); (2)

Ms. Christy Taylor (“Ms. Taylor”) (non-expert who would testify as

to observations of plaintiff before and after alleged events that

led to plaintiff’s injuries); (3) Dr. Nathan B. Fountain (“Dr.

Fountain”) (expert in treating epilepsy, seizure disorders); (4)

Dr. Stephanie Bajo (“Dr. Bajo”) (expert in psychiatry).                Id. at

1-2.    The disclosure then contains a written report of Mr. Hayden.

Id. at 3-5.      Plaintiff did not provide a written report from Dr.

Fountain    or   Dr.   Bajo,   indicating   that   the   doctors    diagnosed

plaintiff on January 18, 2019, the date that the expert witness

disclosure was due (see ECF No. 31 at 3), but that he would

supplement the disclosures as soon as practicable.                 ECF No. 36

at 2.




Case 7:17-cv-00564-FPS Document 53 Filed 04/16/19 Page 1 of 4 Pageid#: 764
     After filing its own expert discovery report (see ECF No. 39),

the defendant Carilion Clinic filed a motion to strike plaintiff’s

expert discovery report (ECF No. 36).       ECF No. 42.    The defendant

Carilion Clinic first stated that Mr. Hayden’s report does not

contain any discussion of the reasoning behind his conclusions, and

the data he relied on to reach his conclusions may not be complete

since Mr. Hayden indicated that such data may include information

that has not yet been produced by Carilion Clinic; therefore, Mr.

Hayden’s report should be excluded.           Id. at 2-4.       Defendant

Carilion Clinic then indicated that Dr. Fountain’s and Dr. Bajo’s

reports do not contain the required written reports signed by the

witnesses. Id. at 2, 4. Defendant Carilion Clinic stated that the

plaintiff should have at least provided copies of medical records.

Id. at 4.

     The plaintiff then submitted a supplemental expert witness

disclosure (ECF No. 44), stating that in the absence of a written

report, Dr. Fountain is a treating physician, incorporating the

disclosure of Dr. Fountain as set forth in the previous expert

disclosure (ECF No. 36).    ECF No. 44 at 1.     Plaintiff then filed a

response to defendant Carilion Clinic’s motion to strike.              ECF

No. 47.     In that response, plaintiff withdrew Dr. Bajo and Dr.

Fountain as retained expert witnesses, but indicated that Dr.

Fountain was deposed by both parties.        Id. at 2.    Plaintiff then

asserted that Mr. Hayden’s report stated the information he relied

upon to reach his conclusions, and that the report listed his



                                    2



Case 7:17-cv-00564-FPS Document 53 Filed 04/16/19 Page 2 of 4 Pageid#: 765
credentials to reach such conclusions.                          Id.    Plaintiff contends

that an extensive rationale is not necessary, and that under the

balancing       test:   (1)   there      is    no        surprise      to       defendant;     (2)

plaintiff cured whatever surprise there may be because he has

attached a supplemental expert report by Mr. Hayden (see ECF

No. 48); (3) Mr. Hayden did not change his opinion, but only

provided additional rationale for reaching his conclusions; and (4)

the additional rationale is not additional evidence.                                Id. at 2-4.

Plaintiff then concluded by stating that he would agree to any

extension of the discovery deadline should defendant choose to

depose Mr. Hayden after reviewing the supplemental report.                                     Id.

at 4.

        Defendant      Carilion    Clinic          did    not    file       a    reply   to    the

plaintiff’s response.

        After consideration of the parties’ contentions, this Court

finds that defendant Carilion Clinic’s motion to strike (ECF No.

42) should be DENIED.             Plaintiff Fuller has provided sufficient

information       in    accord    with    Federal          Rule       of    Civil     Procedure

26(a)(2)(A) and (B).          Plaintiff Fuller has remedied any potential

defect     in    his     initial     expert         disclosures             by     providing     a

supplemental        report    (ECF       No.       47-1)        further          detailing     the

information Mr. Hayden relied upon to reach his conclusions.                                    As

mentioned previously, defendant Carilion Clinic has not filed a

reply to plaintiff Fuller’s response.                      Moreover, plaintiff Fuller

has withdrawn both Dr. Fountain and Dr. Bajo as retained expert



                                               3



Case 7:17-cv-00564-FPS Document 53 Filed 04/16/19 Page 3 of 4 Pageid#: 766
witnesses, while noting that Dr. Fountain has been deposed by both

parties.   Dr. Fountain is designated as a treating physician under

Federal Rule of Civil Procedure 26(a)(2)(C).        Lastly, there seems

to have been no objection based on Federal Rule of Evidence 701 as

to plaintiff Fuller’s intent to have Ms. Taylor provide non-expert

testimony.

     Accordingly, for the reasons stated above, the defendant’s

motion to strike plaintiff’s expert discovery reports (ECF No. 42)

is DENIED.

     IT IS SO ORDERED.

     The Clerk is DIRECTED to transmit a copy of this order to

counsel of record herein.

     DATED:     April 16, 2019



                                  /s/ Frederick P. Stamp, Jr.
                                  FREDERICK P. STAMP, JR.
                                  UNITED STATES DISTRICT JUDGE




                                    4



Case 7:17-cv-00564-FPS Document 53 Filed 04/16/19 Page 4 of 4 Pageid#: 767
